    Case 9:18-cv-80368-WPD Document 9 Entered on FLSD Docket 03/29/2018 Page 1 of 3
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INSTRUCTIONS:UseFonn USM -102torecord thetransferofseizedpropertyfrom oneagency orindividualtoanother. M aintain
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1.DISTRICT:
SouthernDistrictofFlorida
2.RECEIVED FROM (NAM E AND ADDRESS):
HAW AZIN HARIJAN;634 32ND STREET,W EST PALM BEACH. FL 33407
3.CASE NO.:                     4.CASE TITLE:
18-80368                        CLAIRE HARIJAN VS. HAW AZIN HARIJAN
5.SUBJECT (NAMEAND ADDRESS):
HAWAZIN HARIJAN;63432ND STREET,W EST PALM BEACH, FL 33407
    6.ITEM NO.         7.QUANTITY   8.DESCRIPTION OF ARTICLE (Includemodel,serial        9.STORAGE LOCATION
                                        no.,idente ingmarks,condition,value,etc.
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                                    PASSPORT#720537356 EXP.18M AR 2018
2                  1                UNITED KINGDOM OF GREAT BRITAIN AND             CLERK'S OFFICE
                                    NORTHERN IRELAND PASSPORT
                                    PASSPORT# 532770500EXP.10 OCT 20
3                  1                CERTIFIED TRANSCRIPT OF BIRTH STATE OF          CLERK'S OFFICE
                                    NEW YORK DEPARTMENT OF HEALTH
                                    REGISTER# L5551150




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    15.ITEM    .     16.DATE           17.RELINQUISHED BY                         18.RECEIVED BY                         19. PURPOSE
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Note:Completedformscontainingpersonallyidentifiableinformation (P1I)mustbeencryptedand includetheappropriatemarking
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                         Southern District of Florida

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